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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. GARY S. KATZMANN, JUDGE
__________________________________________
BERGAN, LLC D/B/A BERGAN PETS,             :
                                           :
                                           :
                        Plaintiff,         : Court No. 15-00134
                  v.                       :
                                           :
UNITED STATES                              :
                                           :
                        Defendants.        :
__________________________________________ :


            NOTICE REGARDING RETURN OF PROTESTS AND ENTRIES

       The parties in the captioned matter signed and filed a Stipulation on Agreed Statement of

Facts on July 25, 2022 setting forth the parties’ agreed resolution of the classification issues

involved. The Court entered that stipulation on the same day, and ordered that the applicable

entries be reliquidated accordingly. Pursuant to 19 U.S.C. § 1514(a), “[w]hen a judgment or

order of the United States Court of International Trade has become final, the papers transmitted

shall be returned, together with a copy of the judgment or order to the Customs Service, which

shall take action accordingly.”

       As a matter of practice, the Court on its own initiative typically returns entry papers for

processing to the ports where the entries were filed. However, in this case, we have been

informed that personnel assigned to the relevant Center of Excellence and Expertise will process

the papers at issue in this action. We therefore respectfully request that the Court return all

protests and entries in this action, along with a copy of the Stipulation and Order, to U.S.

Customs and Border Protection addressed as follows:
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                     US Customs and Border Protection
                     Attn: Lenora D. Damper
                     Supervisory Entry Specialist
                     APOE-St Louis, Port Office and Vault
                     4349 Woodson Rd.
                     St. Louis, MO 63134

       On August 3, 2022, undersigned Government Counsel communicated with plaintiff’s

counsel, Alan Goggins, of Barnes, Richardson & Colburn, LLP, who gave his consent to this

Notice Regarding Return of Protests and Entries.

       We remain at the Court’s disposal to furnish any additional information that it may

require.

                                             Respectfully submitted,

                                             BRIAN M. BOYNTON
                                             Principal Deputy Assistant Attorney General

                                             PATRICIA M. McCARTHY
                                             Director

                                             /s/ Justin R. Miller
                                             JUSTIN R. MILLER
                                             Attorney-In-Charge
                                             International Trade Field Office

                                             /s/ Monica P. Triana
                                             MONICA P. TRIANA
                                             Trial Attorney
                                             Department of Justice, Civil Division
                                             Commercial Litigation Branch
                                             26 Federal Plaza – Suite 346
                                             New York, New York 10278
                                             (212) 264-0583

                                             Attorneys for Defendant



Dated: August 4, 2022




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